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      In The United States Court of Federal Claims
                                           No. 05-576 T

                                     (Filed: January 22, 2010)
                                            __________
 PRESTOP HOLDINGS, LLC,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant.
                                            _________

                                             ORDER
                                            __________

       On January 20, 2010, plaintiff filed an unopposed motion for extension of time within
which to file his response to defendant’s motion to dismiss. The motion is hereby GRANTED.
Accordingly:

       1.       On or before February 4, 2010, plaintiff shall file its response to defendant’s
                motion to dismiss. No further enlargements of this deadline will be granted;
                and

       2.       On or before March 9, 2010, defendant shall file its reply in support of its motion
                to dismiss.

       IT IS SO ORDERED.


                                                              s/ Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
